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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-1138V
                                      Filed: June 9, 2016
                                        UNPUBLISHED
*********************************
JANICE DEWALL,                                    *
                                                  *
                         Petitioner,              *
v.                                                *
                                                  *       Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Amber Diane Wilson, Maglio Christopher and Toale, PA, Washington, DC, for petitioner.
Douglas Ross, U.S. Department of Justice, Washington, DC, for respondent.


                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

      On October 7, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleged that she suffered a left shoulder injury caused by her
September 12, 2014 influenza vaccination. Petition, at ¶¶ 2-3, 8. On March 29, 2016,
the undersigned issued a decision awarding compensation to petitioner based on
respondent’s Proffer. (ECF No. 19).




1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On June 8, 2016, petitioner filed an unopposed motion for attorneys’ fees and
costs. (ECF No. 25).3 Petitioner requests attorneys’ fees and costs in the amount of
$15,509.71. In compliance with General Order #9, petitioner has filed a signed
statement indicating petitioner incurred no out-of-pocket expenses.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $15,509.714 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel,
Amber D. Wilson, Esq.

          The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.

                                                             s/Nora Beth Dorsey
                                                             Nora Beth Dorsey
                                                             Chief Special Master




3
    In the motion, petitioner states that respondent has no objections to petitioner’s motion.
4
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                        2
